Case: 1:15-cv-01904 Document #: 12 Filed: 07/22/15 Page 1 of 8 Page|D #:27

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERNDIVIN F l L E
) "UL 32 2015
SMITA A. PATEL, ) UnGE MAN!S
Piainaff, ) N@ 15 C19<Y&"TEDS§AESD,S*;;CSHAH
v. ) CTCOUR]'
MEGAN J. ) Judge Shah
BRENNAN,] ) Magistrate Judge
Postmaster General, ) Mason
United States Postal )
Service,
Defendant.

PLANT|FF' MOT|ON TO RE-OPEN CASE

Plaintii‘ic Smita A. Patel requesting a motion to reopen my case.

1. The reason for a motion is | tried and tried to efile but was not able to efile
my brief. | was not late to file my case because the website l saw was showing
the filing fees is $350.00 ( lam attaching paper copies with this motion). i\/iy
case file date should be the date the day l sent $350.00. The clerk

asked fees for $400.00, which l paid later. |f | am filing this case

and requesting for jury, it shows there is no way l intentionally pay less.

2. l thought | have time after Ju|y 7, 2015 to answer again and | will explain my
situation. When | saw my case is closed, | called the court help desk and they
asked me to take that training then have the efi|e password. Her name is

l

Case: 1:15-cv-01904 Document #: 12 Filed: 07/22/15 Page 2 of 8 Page|D #:28

Paula Rogers per my knowledge She also informed that l can file a motion to re-
open my case. |V|y next court date is August 11, 2015. Please except my motion
and grant me a new date. l have too many problems to go thru the efiling, now l

am willing to go only with paper documents.

WHEREFORE, the court should motion plaintiff's request and re-open my case. l
am waiting from long time for this case and want this case to go further.

Respectfully submitted,

 

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CERTIFICATE OF SERVICE

I, Smita Patel, hereby certify that on July 21, 2015, I sent a copy of the Plaintiff’s Motion
by Priority Mail and Exnress Meil to following individuals

Via Ptiority Mail to, Via Express Mail to,

Zachary T. Fardon Honorable Juclge Manish Shah,
Everett MeKinley Dirksen

United States Attorney United States Courthouse

219 South Dearbom Street, 5th Floor 219 South Dearborn Street

Chicago, Illinois 60604 Chicago, Illinois 60604

(312) 353-5300

Srnita A. Patel
5707 Ca;ribou Lane
I-loffman Estates, IL 60192

 

Date: 07/21/2015

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what documents need to be ti|ed in

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FILING A CIVIL CASE
WITHOUT AN ATToRNEY:
A GUIDE FoR THE PRo SE LITIGANT

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

(05/13/09)

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In the same section of the civil cover sheet, enter the same information about
your request for a jury trial that you entered in item 15) of your employment
discrimination complaint form.

0 Reflling a Previously Disrnissed Case. If you have previously filed a
complaint involving the same claim of discrimination by the same defendant,
enter the name ofthejudgc and the case number in the space provided in this
section of the civil cover sheet

0 Date and signature. Record the date and sign the civil cover sheet in the space
labeled “signature of attorney of record.”

Fees

The $35 0 filing fee for a civil case has already been mentioned Once a case has been
filed, there are no additional fees for filing a document in that case. I-Iowever, there are a
series of other fees listed below that may affect the pro se litigant l\/[ost of these fees are set
by the Judicial Conference of the United States.

These fees may be paid by mail or in person at the Clerk’s Oftice cashier’s Window,
located in the northeast comer of the 20th Floor of the Dirksen Federal Courthouse. Payment
may be made in cash, by check, or by credit card (oniy Visa, Mastercard, and American
Express are accepted). If you pay by check, your check should be made out to “Clerk, U.S.
District Court.” Your name, address, and phone number must appear on the front of your
check.

Filing Fees ' f
Civil Case Filing Fee ..................................... l $350.00|
$5.00

Habeas Corpus Filing F ec .................................

Foreign Deposition Filing Fee .............................. $39.00
Registration of a Foreign Judgrnent .......................... $39.00
Letters Rogatory or Letters of Request ....................... $39.00
U.S. Court oprpeals Docketing Fee ........................ $350.00
U.S. District Court Notice oprpeal ......................... $5.00
Misdemeanor Appeal (Magistrate Judge to District Judge) ........ $32.00
Copy Sel'vices
Certitication Fee (per document) ............................ $9.00
Exemplification Fee (per document) ......................... $18.00
Copy Fee (per page) .................................... 0.50

(Guide to Civil Cases for Litigants Without Lawyers: Page 15)

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Electronic ............................................. $0. 10
Copy of Magnetic Tape Recordings ............................. 326.00
Retrieving a Record From Off-Site Storage ....................... $45.00
Records Search & Certification (per name or item) ................. $26.00

Miscellaneous Fees
Printed Copy of the Court’s Local Rules ......................... 310.50
Check Returned for Insufficient Funds .......................... $45.00

A FeW Basic Procedures for Ongoing Civil Cases
Format Requirements

Local Rule 5 .2(a) covers the format requirements for documents filed With the
Court. A copy ofLocal Rule 5 .2(a) has been included in the Appendix. Basically, the Court
requires that the documents you file meet the following requirements:

0 the document must be on paper that is 81/2 by 11 inches in size, flat and
unfolded;

0 it must be typed or neatly handwritten;

0 it must be bound at the top of the document; and

0 it must be signed by you on the final page ofthe document, including your
name, address, and telephone number The document must bear your
original signature not a photocopy of your signature

If you present a document for filing to the clerk that does not meet the format
requirements set out in Local Rule 5.2(a), a deputy clerk may call your attention to the format
problems The clerk Will not refuse to file your document on these grounds, but Rule 5.2
allows the judge to have your document stricken Therefore, you should read Rule 5 .2 and
comply With the format requirements

Document Length
The Court’s Local Rules do not limit the length of your complaint HoWever,
if you later file a brief in support of one of your own motions or a brief in response to a

motion filed by the defendant, you need to be aware that Local Rule 7.1 sets a limit of 15
pages for documents of this type. If you Want to file a brief that is longer than 15 pages, you

(Guide to Civii Cases for Litigants Without Lawyers: Page 16)

